   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 1 of 6 PageID #:3541                   $aI


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SARAH TONEY, on behalfofherselfandothers )
similarly situated,                                           Case   No. l:13-cv-42

               Plaintiff,

       v.

QUALITY RESOURCES, INC., CHERYL                               Hon. Judge Milton I. Shadur
MERCURIS, and SEMPRIS LLC dlbla
BUDGET SAVERS,

               Defendants.

                       FINAL APPROVAL ORDER AND JUDGMENT

       This matter having come before the Court on Plaintiff s motion for final approval (the

"Motion for Final Approval") of a proposed class action settlement (the "Settlement") of the

above-captioned action (the "Action") between Plaintiff Sarah Toney ("Plaintiff'), individually

and on behalf of the class of persons she seeks to represent (the "Settlement Class" defined

below), and Sempris, LLC d/b/a Budget Savers ("Sempris"), pursuant to the parties' Class

Action Settlement Agreement (the "Agreement" or the "Settlement Agreement"), and having

duly considered all papers filed and arguments presented, the Court hereby finds and orders   as


follows:

       l.      Unless defined herein,   all   defined terms   in this Final Approval   Order and

Judgment shall have the respective meanings set forth in the Agreement.

       2.      This Court has jurisdiction over the subject matter of the Action and over all

parties to the Action, including all Settlement Class Members.

       3.      The Court preliminarily approved the Settlement Agreement and entered the

Preliminary Approval Order dated August 29,2016, and notice was given to all members of the
   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 2 of 6 PageID #:3542




Settlement Class under the terms of the Preliminary Approval Order.

       4.      The Court has read and considered the papers filed in support of the Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments

submitted on behalf of the Plaintiff, Settlement Class Members, and Sempris, and supporting

declarations. The Court has     not received any objections from any person regarding             the

Settlement. The Court held a hearing on December           l,   2016, at which time the parties were

afforded the opportunity    to be   heard   in   support   of or in   opposition   to the Settlement.
Furthermore, the Court finds that notice under the Class Action Fairness Act was effectuated on

July 15, 2016, and that ninety (90) days has passed without comment or objection from any

govemmental entity.

       5.      Based on the papers filed   with the Court and the presentations made to the Court

at the hearing, the Court now gives final approval to the Settlement and finds that the Settlement

is fair, adequate, reasonable, and in the best interests of the Settlement Class. This finding is

supported by, among other things, the complex legal and factual posture of the Action, the fact

that the Settlement is the result of arms' length negotiations presided over by a neutral mediator,

and the settlement benefits being made available to Settlement Class Members.

       6.      Under Federal Rule of Civil Procedure 23(c), the Court certifies, for settlement

purposes only, the following "Settlement Class":

       All  persons who are or were the subscribers and/or customary users of the
       telephone numbers on the Class List, and to whom, from January 3,2009 through
       the date of preliminary approval, Quality Resources, Inc., made a call or calls in
       connection with Stompeez Kids Slippers purchases. The following persons are
       excluded from the Settlement Class: Sempris, any parent, subsidiary, or affiliate
       of Sempris, the officers, directors, agents, servants, or employees of any of the
       foregoing as of the entry of the Preliminary Approval Order, Class Counsel, the
       Settlement Administrator, the Mediator, and any judge presiding over the Action.

       7.      Under Federal Rule of Civil Procedure 23, Sarah Toney is hereby appointed as
   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 3 of 6 PageID #:3543




Class Representative and the following are hereby appointed as Class Counsel:

                               Alexander H. Burke
                               Daniel J. Marovitch
                               BURKE LAW OFFICES, LLC
                               155 N. Michigan Ave., Suite 9020
                               Chicago, IL 60601

                               Edward A. Broderick
                               Anthony I. Paronich
                               BRODEzuCK & PARONICH, P.C.
                               99 High St., Suite 304
                               Boston, MA 02110

                               Matthew P. McCue
                               THE LAW OFFICE OF MATTHEW P. MCCUE
                               I South Avenue, Suite 3
                               Natick, Massachusetts 01 760

       8.        With respect to the Settlement Class, this Court finds, for settlement    purposes

only, that: (a) the Settlement Class is so numerous that joinder of all members is impracticable;

(b) there are questions of law or fact common to the Settlement Class; (c) the claims of the Class

Representative, identified above, are typical of the claims of the Settlement Class; (d) the Class

Representative   will fairly and adequately protect the interests of the Settlement Class; (e) the

questions of law or fact corlmon to the members of the Settlement Class predominate over the

questions affecting only individual members, and      (f) certification of the Settlement Class is

superior to other available methods for the fair and effrcient adjudication of the controversy. The

Court further finds that: (A) the members of the Settlement Class have a limited interest in

individually prosecuting the claims at issue; (B) the Court         is   satisfied with the Parties'

representations that they are unaware of any other litigation commenced regarding the claims at

issue by members of the Settlement Class; (C)      it is desirable to concentrate the claims in this

forum; and (D)     it is unlikely that there will be difficulties encountered in administering   this

Settlement.
   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 4 of 6 PageID #:3544




        9.       The Court has determined that the Notice given to the Settlement Class, in

accordance with the Notice Plan in the Agreement and the Preliminary Approval Order,         fully and

accurately informed members of the Settlement Class of all material elements of the Settlement

and constituted the best notice practicable under the circumstances, and fully satisfied the

requirements of due process, Federal Rule of Civil Procedur e 23 , and all applicable law.

        10.      The Court finds that Defendant properly and timely notified the appropriate state

and federal officials of the Settlement Agreement under the Class Action Fairness Act of 2005

("CAFA"),28 U.S.C. $ 1715.

        I   1.   All   persons whose names were included on the list supplied by Plaintiff or the

Class Administrator as having made timely and valid requests for exclusion are excluded from

the Settlement Class and are not bound by this Final Approval Order and Judgment.

        12.      The Court orders the Parties to the Settlement Agreement to perform their

obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as             if
explicitly set forth and shall have the full force of an order of this Court.

        13.      The Court dismisses this Action with prejudice and without costs (except          as

otherwise provided herein and in the Settlement Agreement) as to Sempris only pursuant to Fed.

R. Civ. P. 54(b). This Final Approval Order and Judgment shall have no impact upon Plaintiff         s


claims against Quality Resources and its present or former predecessors, successors, subsidiaries,

and   all of their respective officers,      directors, partners, insurers, insureds, employees,

shareholders, servants and assigns or Cheryl Mercuris.

        14.      On and after the Effective Date, the Releasing Parties, and each of them, are

forever barred and permanently enjoined from directly, indirectly, representatively, or in any

other capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding
   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 5 of 6 PageID #:3545




against any of the Released Panies in any jurisdiction based on or relating     in any way to the

Released Claims, and the Releasing Parties, and each           of them, are forever barred and
permanently enjoined from filing, commencing, or prosecuting any lawsuit individually or as a

class action against any   of the Released Parties (including by seeking to amend a pending

complaint to include class allegations or by seeking class certification in a pending action in any

jurisdiction) based on or relating in any way to the Released Claims.

        15.    The Court funher adjudges that upon the Effective Date, the above-described

releases and the Settlement Agreement   will be binding on, and have res judicata   and preclusive

effect in all pending and future lawsuits or other proceedings maintained by or on behalf of the

Releasing Parties, and each of them.

        16.    Without affecting the finality of this Final Approval Order and Judgment in any

way, the Court retains jurisdiction over: (a) implementation and enforcement of the Settlement

Agreement until the final judgment contemplated hereby has become effective and each and

every act agreed to be performed by the parties hereto pursuant to the Settlement Agreement

have been performed; (b) any other action necessary to conclude the Settlement and to

administer, effectuate, interpret and monitor compliance with the provisions of the Settlement

Agreement; and (c) all parties to this Action and Settlement Class Members for the purpose         of
implementing and enforcing the Settlement Agreement, including the bar order set forth in

paragraph l4 above.

       17.     The Court approves payment      of attorneys'   fees, costs, and expenses   to   Class

Counsel in the amount of $760,274.71 This amount shall be paid from the Settlement Fund in

accordance   with the terms of the Settlement Agreement. The Court, having considered the

materials submitted by Class Counsel in support of final approval of the Settlement and their
   Case: 1:13-cv-00042 Document #: 312 Filed: 12/01/16 Page 6 of 6 PageID #:3546




request for attorneys' fees, costs, and expenses and in response to the filed objections thereto,

finds the award of attorneys' fees, costs, and expenses appropriate and reasonable and the Court

notes that the class notice specif,rcally and clearly advised the class that Class Counsel would

seek the award.

        18.       The Court approves the incentive fee payment of $15,000.00 for Sarah Toney and

specifically finds such amount to be reasonable in light of the service performed by Plaintiff for

the class. This amount shall be paid from the Settlement Fund in accordance with the terms       of

the Settlement Agreement.

        19.    Neither this Final Approval Order and Judgment nor the Settlement Agreement

shall be construed or used as an admission or concession by or against either Sempris or any     of

the Released Parties of any fault, omission, liability, or wrongdoing, or the validity of any of the

Released Claims. This Final Approval Order and Judgment is not a finding of the validity or

invalidity of any claims in this Action or a determination of any wrongdoing by Sempris or any

of the Released Parties. The final approval of the Settlement Agreement does not constitute any

opinion, position, or determination of this Court, one way or the other, as to the merits of the

claims and defenses of Plaintiff, the Settlement Class Members, or Sempris.




DATED:                                               "rdzb,oQ Sr*a,v,,
                                                      Hon. Judge Milton I. Shadur
                                                      United States District Court




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